103 F.3d 123
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Eddie C. WILSON, Sr., Plaintiff--Appellant,v.Bernard SMITH, Warden;  Marsha Broaddus, Director of MedicalServices;  Michael Murray, Hospital Administrator;Prison Health Services, Incorporated,Defendants--Appellees.
    No. 96-7307.
    United States Court of Appeals, Fourth Circuit.
    Argued Nov. 19, 1996.Decided Dec. 2, 1996.
    
      Eddie C. Wilson, Appellant Pro Se.
      Before HAMILTON, LUTTIG, and MICHAEL, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant, a federal inmate, appeals the district court's order denying relief on his 42 U.S.C. § 1983 (1994) complaint under 28 U.S.C. § 1915(d) (1994), amended by Prison Litigation Reform Act, Pub.L. No. 104-134, 110 Stat. 1321 (1996).  We have reviewed the record and the district court's opinion and find that this appeal is frivolous.  Accordingly, we dismiss the appeal on the reasoning of the district court.  Wilson v. Smith, No. CA-96-2318-AMD (D.Md. July 29, 1996).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    DISMISSED
    